
650 S.E.2d 435 (2007)
STATE
v.
Darrell Wayne MANESS.
No. 402A06.
Supreme Court of North Carolina.
July 3, 2007.
Rex Gore, District Attorney, for State of NC.
The following order has been entered on the motion filed on the 2nd day of July 2007 by Defendant for Extension of Time to Serve Proposed Record on Appeal:
"Motion Allowed. Defendant shall have up to and including the 30th day of July 2007 to serve his/her proposed record upon the district attorney. The parties shall then *436 proceed to settle and file the record on appeal pursuant to the provisions of Appellate Rules 11 and 12. By order of the Court in conference this the 3rd day of July 2007."
